      Case 4:19-cv-07123-PJH         Document 408       Filed 10/02/24   Page 1 of 4




October 2, 2024

Re:    WhatsApp LLC. v. NSO Group Technologies Limited, 4:19-CV-07123-PJH
       DISCOVERY MATTER

The Honorable Phyllis J. Hamilton
United States District Court for the Northern District of California
1301 Clay Street
Oakland, CA 94612

Dear Judge Hamilton:

Plaintiffs WhatsApp LLC and Meta Platforms, Inc. (together “Plaintiffs”), and Defendants
NSO Group Technologies Ltd. and Q Cyber Technologies Ltd. (together “Defendants” or
“NSO”), submit this joint letter regarding Plaintiffs’ request for leave to use certain
information derived from documents produced by Defendants and designated as Highly
Confidential-Attorneys’ Eyes Only to obtain WhatsApp account information for use in the
litigation.

Plaintiffs’ Position:

Defendants produced several documents, including Exhibit 17 to the Declaration of Micah
G. Block in Support of Plaintiffs’ Motion for Partial Summary Judgment, that identify certain
NSO-owned devices on which NSO installed WhatsApp in order to test their Relevant
Spyware. Defendants originally produced these documents with all the phone numbers
redacted for “PII” (i.e., for personally identifiable information), but after their witnesses
testified that these were company-owed devices, Defendants agreed to produce an
unredacted version on September 13, 2024, which it designated as “Highly Confidential –
Attorneys’ Eyes Only.”

By emails on September 16, September 18, September 23, and October 1, 2024, and
during a meet and confer on September 30, 2024, Plaintiffs sought permission from
Defendants to extract these phone numbers from the HC-AEO documents, like Exhibit 17,
and to share those numbers with the Meta employee necessary to obtain all WhatsApp
registration information associated with those phone numbers, including records showing
whether and when those accounts had agreed to WhatsApp’s Terms of Service. Plaintiffs’
Designated House Counsel neither have the permissions nor the skills necessary to query
WhatsApp’s database of business records to obtain that information. By contrast, the Meta
employee is a data scientist with the permissions and skills necessary to run the
contemplated searches.

Whether Defendants agreed to the Terms of Service—which they have refused to provide
discovery about—is relevant to Plaintiffs’ breach of contract claims, Defendants’
       Case 4:19-cv-07123-PJH         Document 408       Filed 10/02/24     Page 2 of 4
The Honorable Phyllis J. Hamilton              2                                 October 2, 2024



authorization (or lack thereof) to access Plaintiffs’ servers, and personal jurisdiction.
Therefore, on October 1, 2024, Plaintiffs sent Defendants an email “propos[ing] to disclose
these phone numbers to [a single Meta employee], a Data Science Manager on Meta’s
eDiscovery team, who would conduct the searches for associated WhatsApp account
information himself,” and stating that the employee “has already signed the Protective
Order, a copy of which is attached, and he would not use the numbers for any competitive
purpose.” With respect to Defendants’ request that the employee destroy all records of
the search afterwards, Plaintiffs informed them that they “cannot agree to destroy all the
information after the searches are run, because these types of queries are logged and
monitored by Meta for security purposes,” i.e. to monitor who accesses WhatsApp’s
business records, “but those logs also are not used for any competitive purpose.”
(Defendants’ description below omits Plaintiffs’ representation that none of the information
would be “used for any competitive purpose,” including to the extent there will be a log of
the search.)

But despite the obvious relevance and litigation need, Defendants have refused to consent
to Plaintiffs using the phone numbers from Defendants’ documents for this limited purpose.
Defendants have not articulated any harm they would suffer from this limited disclosure
under these circumstances.

And there is no comparison or equivalency to Defendants’ attempt to make blanket
disclosures of personally identifiable victim information to Nofar Azulay, an NSO intern and
law student, as a matter of administrative convenience. Defendants had not raised Ms.
Azulay’s designation in the weeks since Plaintiffs first sought to disclose these phone
numbers, nor at any time since January 2024. Plaintiffs fully explained the basis for their
objection to Ms. Azulay’s designation and their concerns about the risk of harm to Plaintiffs
and victims at that time. Defendants opted not to seek permission from the Court to make
the disclosure over Plaintiffs’ objection. Their attempt to raise that issue now is untimely
and irrelevant to Plaintiffs’ request to make a limited disclosure for a very specific litigation
purpose.

Plaintiffs therefore request the Court’s leave to use the phone numbers for the limited
purpose outlined in this letter, notwithstanding Defendants’ designation of the documents
as Highly Confidential-Attorneys’ Eyes Only.

Defendants’ Position:

This request is another example of Plaintiffs believing the normal rules do not apply to
them, including in this case ground-rules that Plaintiffs established a year ago.

Plaintiffs are seeking to provide Defendants’ Highly Confidential-Attorney’s Eyes Only
information to Plaintiffs’ business personnel, who appear to intend to use it against
Defendants for competitive purposes. This week, the parties conferred to see if an
       Case 4:19-cv-07123-PJH       Document 408       Filed 10/02/24     Page 3 of 4
The Honorable Phyllis J. Hamilton            3                                 October 2, 2024



agreement could be reached. Defendants suggested that, if the persons receiving
Defendants’ confidential information would delete that information after using it for the
alleged litigation purpose and confirm that deletion had occurred, the dispute could likely
be resolved. Plaintiffs rejected that very reasonable proposed resolution and stated that
they indeed intended to maintain the information: “We cannot agree to destroy all the
information after the searches are run, because these types of queries are logged and
monitored by Meta for security purposes.” The fact that Defendants’ information would
remain in Plaintiffs’ systems means that Plaintiffs could choose to use it later for
competitive purposes if they so wished, and Plaintiffs’ response indicates that it obviously
intends to use this information for purposes other than the litigation. Providing Defendants’
confidential business information to Plaintiffs’ security apparatus could prejudice
Defendants. If Plaintiffs truly intend to use this information only in litigation, they have
provided no explanation why their legions of house counsel and/or outside counsel cannot
perform the analysis needed.

Moreover, and notably, Defendants asked Plaintiffs, on December 12, 2023, whether they
would agree to grant access to documents Plaintiffs designated as confidential information
to a legal intern. Nofar Azulay is working in NSO’s legal department (which includes
herself and Defendants three house counsel, including its General Counsel and its Chief
Compliance Officer) while Ms. Azulay completes law school. Defendants’ house counsel
wanted Ms. Azulay’s assistance performing organizational tasks with respect to court
filings and service of discovery. Defendants’ house counsel also wanted to avoid the
logistical difficulties of keeping Ms. Azulay from having access to certain filings and
discovery responses. Plaintiffs objected and refused to allow Ms. Azulay access to their
confidential information, insisting on strict interpretation of the protective order terms and
stated they would allow only house counsel to have access to information designated as
Highly Confidential—Attorney’s Eyes Only; as a legal intern, Ms. Azulay did not qualify as
“house counsel” for Plaintiffs’ purposes. (E-mail from Gerhsam Johnson to King &
Spalding, Exhibit 1.) In light of this history in parallel circumstances, the Court should
decline to intervene here, and Plaintiffs’ request should be denied.
       Case 4:19-cv-07123-PJH       Document 408     Filed 10/02/24   Page 4 of 4
The Honorable Phyllis J. Hamilton         4                               October 2, 2024



Respectfully submitted,



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